Case 22-18303-JKS          Doc 126    Filed 05/30/23 Entered 05/30/23 17:46:56               Desc Main
                                     Document      Page 1 of 4
                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


                                  FEE APPLICATION COVER SHEET

Debtor:           Dacosta & Antunes
                  __________________________            Applicant:       Norgaard O'Boyle & Hannon
                                                                         __________________________

Case No.:         22-18303 JKS
                  __________________________            Client:          Dacosta & Antunes
                                                                         __________________________

Chapter:                      11
                  __________________________            Case Filed:      October 19, 2022
                                                                         __________________________



                                           SECTION 1
                                         FEE SUMMARY

☐ Interim Fee Application No.        1   or ☐ Final Fee Application

                                               FEES                      EXPENSES
Total Previous Fee Requested:                  $ _______________
                                                 0.00                      0.00
                                                                         $ _______________
Total Fees Allowed To Date:                      0.00
                                               $ _______________           0.00
                                                                         $ _______________
Total Retainer (If Applicable)                   6,775.00
                                               $ _______________           0.00
                                                                         $ _______________
Total Holdback (If Applicable)                   0.00
                                               $ _______________           0.00
                                                                         $ _______________
Total Received By Applicant                      6,775.00
                                               $ _______________         $ _______________


 NAME OF PROFESSIONAL                     YEAR ADMITTED               HOURS        RATE        FEE
 & TITLE                                  (Or Years Of
                                          Professional Service)

 1. John O'Boyle, Esq.                            1990                167.30   $ 425.00 $71,102.50
 2. John O'Boyle, Esq.                            1990                  1.80   $ 212.50 $       382.50
 3. John O'Boyle, Esq.                            1990                  7.40   $     0.00 $       0.00
 4. Cassandra Norgaard, Esq.                      2013                  0.30   $     0.00 $       0.00
 5. Jaclynn McDonnell, Esq.                       2018                  0.50   $ 250.00 $       125.00
 6.                                                                    23.35   $ 125.00 $ 2,918.75
      Kathleen Martini, Paralegal
 7. Shiryl Johnson, Admin Asst.                                        26.20       $90.00 $ 2,358.00



          Fee Totals:                          $76.886.75
                                               __________________
          Disbursements Totals:                $ 5,670.86
                                               __________________
          Total Fee Application                $82,557.61
                                               __________________
Case 22-18303-JKS            Doc 126       Filed 05/30/23 Entered 05/30/23 17:46:56                  Desc Main
                                          Document      Page 2 of 4


                                              SECTION II
                                          SUMMARY OF SERVICES

 SERVICES RENDERED                                                                     HOURS     FEE
 a) Asset Analysis and Recovery:
      Identification and review of potential assets including causes of action and
      non-litigation recoveries.
 b) Asset Disposition
      Sales, leases, abandonment and related transaction work.                           7.50    $ 3,187.50
 c) Avoidance Action Litigation
      Preference and fraudulent transfer litigation.
 d) Business Operations
      Issues related to debtor-in-possession operating in chapter 11 such as
      employee, vendor, tenant issues and other similar problems.
 e) Case Administration
      Coordination and compliance activities, including preparation of statement of
      financial affairs, schedules, list of contracts, United States Trustee interim
      statements and operating reports; contacts with the United States Trustee;
      general creditor inquires.                                                        108.35   $ 2,829.75
 f) Claims Administration and Objections
      Specific claim inquiries; bar date motions; analyses, objections and allowance
      of claims.                                                                        18.50    $ 6,477.50
 g) Employee Benefits/Pensions
      Review issues such as severance, retention, 401K coverage and continuance
      of pension plan.
 h) Fee/Employment Applications
      Preparations of employment and fee applications for self or others; motions to
      Establish interim procedures.                                                      3.20    $ 1,317.50
 i)   Fee/Employment Objections
      Review of an objections to the employment and fee applications of others.
 j)   Financing
      Matters under 361, 363 and 364 including cash collateral and secured clams;
      loan document analysis.
 k) Litigation
      Other than Avoidance Action Litigation (there should be a separate category
      established for each major matter).                                                3.70    $ 1,402.50
 l)   Meetings of Creditors
      Preparing for and attending the conference of creditors, the 341(a) meeting
      and other creditors’ committee meetings.                                           2.50    $     866.50
 m) Plan and Disclosure Statement
      Formulation, presentation and confirmation; compliance with the plan
      confirmation order, related orders and rules; disbursement and case closing
      activities, except those related to allowance and objections to allowance of
      claims.                                                                           77.65    $ 29,080.75

                                                          2
Case 22-18303-JKS            Doc 126       Filed 05/30/23 Entered 05/30/23 17:46:56                  Desc Main
                                          Document      Page 3 of 4
 SERVICES RENDERED                                                                     HOURS     FEE
 n) Relief from Stay Proceedings
      Matters relating to termination or continuation of automatic stay under 362.       2.95    $ 1,044.75
 o) Accounting/Auditing
      Activities related to maintaining and auditing books of account, preparation
      of financial statements and account analysis.
 p) Business Analysis
      Preparation and review of company business plan; development and review of
      strategies; preparation and review of cash flow forecasts and feasibility
      studies.
 q) Corporate Finance
      Review financial aspects of potential mergers, acquisitions and disposition of
      company or subsidiaries.
 r) Data Analysis
      Management information systems review, installation and analysis,
      construction, maintenance and reporting of significant case financial data,
      lease rejection, claims, etc.
 s) Litigation Consulting
      Providing consulting and expert witness services related to various
      bankruptcy matters such as insolvency, feasibility, avoiding actions; forensic
      accounting, etc.
 t)   Reconstruction Accounting
      Reconstructing books and records from past transactions and brining
      accounting current.
 u) Tax Issues
      Analysis of tax issues and preparation of state and federal tax returns.
 v) Valuation
      Appraise or review appraisals of assets.
 w) Travel Time                                                                          2.50    $     680.00
 SERVICE TOTALS:                                                                        226.85   $ 76,886.75




                                                           3
Case 22-18303-JKS            Doc 126         Filed 05/30/23 Entered 05/30/23 17:46:56        Desc Main
                                            Document      Page 4 of 4




                                           SECTION III
                                     SUMMARY OF DISBURSEMENTS

   DISBURSEMENTS                                                                      AMOUNT

   a)   Filing Fees
        Payable to Clerk of Court.                                                     $1,529.00
   b)   Computer Assisted Legal Research
        Westlaw, Lexis and a description of manner calculated.

   c)   Pacer Fees
        Payable to the Pacer Service Center for search and/or print.

   d)   Fax
        Include per page fee charged.

   e)   Case Specific Telephone/Conference Call Charges
        Exclusive of overhead charges.

   f)   In-house Reproduction Services
        Exclusive of overhead charges.                                                 $3,186.40
   g)   Outside Reproduction Services
        Including scanning services.

   h)   Other Research
        Title searches, UCC searches, Asset searches, Accurint.

   i)   Court Reporting
        Transcripts.

   j)   Travel
        Mileage, tolls, airfare, parking.

   k)   Courier & Express Carriers
        Overnight and personal delivery.

   l)   Postage                                                                        $ 755.46
   m) Other (specify) Court Solutions Telephonic Court Appearances                     $ 200.00

   DISBURSEMENTS TOTAL:                                                                $5,670.46


I certify under penalty of perjury that the above is true.


      May 30, 201235/30
Date: _____________________________                            /s/ John O'Boyle
                                                               ______________________________________
                                                               Signature


                                                                                              rev. 10/1/15

                                                         4
